         Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 1 of 23
                                                                              FILED IN OPEN COURT
                                                                                I U.S.D.C. Atlanta
ORIGINAL               I N THE UNITED STATES DISTRICT COURT
                                                                                  MAR 2 7 2018       .

                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 A T L A N T A DIVISION

     U N I T E D S T A T E S OF A M E R I C A         Criminal Indictment

                                                      No.
             V.

                                                      UNDER SEAL
     MiTZi   BICKERS




  THE G R A N D JURY CHARGES THAT:


                                                Count 1

                        (Conspiracy to Commit Bribery - 18 U.S.C. § 371)

     1. From i n or about 2010 to at least until on or about May 22, 2013, the exact

  dates being unknown, i n the Northern District of Georgia and                elsewhere,

  defendant M I T Z I BICKERS knowingly and w i l l f u l l y conspired, agreed, and had a

  tacit understanding w i t h Elvin R. Mitchell, Jr., Charles P. Richards, Jr. and others

  known and unknown to commit violations of the laws of the United States, that is

  - bribery involving a local government receiving federal funds, i n that, BICKERS,

  an agent of the City of Atlanta, Georgia (a local government), corruptly solicited

  and demanded for her benefit and accepted and agreed to accept a thing of value

  f r o m a person w i t h the intent to be influenced and rewarded i n connection w i t h

  any business, transaction, and series of transactions of the City of Atlanta

  government, involving a thing of value of at least $5,000, i n any one-year period

  where the City of Atlanta government received benefits i n excess of $10,000 under

  a federal program, involving a grant, contract, subsidy, loan, guarantee, insurance

  and other form, i n violation of Title 18, United States Code, Section 666(a)(1)(B).
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 2 of 23




                              Object o f the Conspiracy

   2. As a City of Atlanta employee f r o m i n or about February 2010 to on or about

May 22, 2013, when she left employment w i t h the City of Atlanta, BICKERS

conspired to enrich herself and others by soliciting and accepting payments directly

and indirectly f r o m Mitchell and Richards and their companies in exchange for her

agreement to represent their businesses and to obtain lucrative City of Atlanta

contracts for their companies through bribery.

                                      Background

   A t all times relevant to this Indictment:

   3. Atlanta is the capital and most populous city i n Georgia w i t h a metropolitan

area population of approximately 5.7 million people. The City of Atlanta is a local

government located i n the Northern District of Georgia w i t h an operational and

enterprise budget of more than $2 billion. I n serving its citizens, the City of Atlanta

regularly contracts w i t h individuals and businesses to provide public services.

City of Atlanta contracts often are valued at millions of dollars or more.

   4. I n or about 2004, S.B. incorporated the Bickers Group, Inc. as a for-profit

corporation. I n or about May 2010, BICKERS filed the 2010 Annual Registration

for the Bickers Group w i t h the Georgia Secretary of State, listing herself as its Chief

Executive Officer ("CEO"), Chief Financial Officer ("CFO"), and Registered Agent.

In or about 2014, BICKERS filed an application for Rehistatement of a Georgia For-

Profit Corporation, again listing herself as the CEO, CFO, and Registered Agent of

the Bickers Group.       The Bickers Group focused on political and campaign

consulting work.


                                            2
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 3 of 23




   5. I n or about 2006, S.B. incorporated Chateau Land Company, Inc. on behalf of

BICKERS. I n Georgia Secretary of State filings. Chateau Land Company listed

BICKERS as its CFO and Registered Agent. I n or about 2010, Chateau Land

Company was administratively dissolved.

   6. I n or about 2007, K.J. incorporated Pirouette Dance Company as a dance and

fitness company. I n or about 2012, Pirouette Dance Company became Pirouette

Companies, LLC, changing its focus f r o m dance and fitness to political consulting

and marketing. I n or about 2012, BICKERS began to work for Pirouette Companies.

   7. I n or about 2009, BICKERS participated i n Atlanta's mayoral campaign and,

after the election, became an employee of the City of Atianta. From i n or about

February 2010 to i n or about May 22, 2013, BICKERS served as the Director of

H u m a n Services for the City of Atlanta. As the City of Atlanta's Director of H u m a n

Services, BICKERS earned approximately $50,391 i n 2010, $57,986 i n 2011, $42,849

i n 2012, and $28,046 i n 2013, according to her tax returns.

   8. Mitchell was the owner and principal of the following construction

companies: (a) E.R. Mitchell Company; (b) Cascade Building System, L L C ; (c) E.R.

Mitchell Group, Inc.; and (d) EC & WT Construction Company, Inc., d / b / a E.R.

Mitchell Construction Co.

   9. Richards served as the owner and principal of the following construction

companies: (a) CP. Richards Construction Co., Inc. and (b) CP. Richards &

Associates, Inc.

   10. From i n or about 2010 to i n or about 2015, Mitchell's and Richards'

companies actively sought and received lucrative government contracts w i t h the

City of Atlanta, including contracts relating to emergency snow and debris


                                            3
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 4 of 23




removal, sidewalk maintenance and repair, and emergency bridge reconstruction.

During this period, the City of Atlanta awarded and paid Mitchell's and Richards'

businesses approximately $17 million for government contracts they secured.

               The City of Atlanta'^s Ethics and Procurement Codes

   11. The City of Atlanta's Code of Ethics governs the conduct of City of Atlanta

officials and employees.   Its purpose is "protecting the integrity" of the City of

Atlanta government and promotuig the public trust by prohibiting conflicts of

interest, by requiring certaui officials and employees to disclose outside financial

relationships and transactions. The City of Atlanta's Ethics Code encourages city

officials and employees to act i n its best interest and to avoid the appearance of

impropriety.

   12. According to the City of Atlanta's Code of Ethics § 2-812, no official or

employee may participate directly or indirectly through decision making,

approval, recommendation or rendering advice i n any matter pertaining to any

contract or subcontract and any solicitation or proposal or seek to influence the

votes or decisions of others w i t h respect thereto when the official or employee

knows or w i t h reasonable investigation should know that there is a financial or

personal interest possessed by the official or employee or a business i n which the

person serves as "an officer, director, stockholder, ... partner or employee."

   13. According to the City of Atlanta's Code of Ethics § 2-818, "no official or

employee shall solicit or accept anything of value, i n any f o r m whatsoever,

calculated to influence a vote, decision or the exercise of official authority i n any

manner involving the city."




                                          4
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 5 of 23




   14. According to the City of Atlanta's Code of Ethics § 2-814(a)(l), certain City

of Atlanta officials and employees must disclose all "positions of employment held

by the official or employee i n any business . . . for all or any portion of the year,

including a description of the type of business and the existence and nature of any

business done by the employer entity w i t h the city." City of Atlanta's Code of

Ethics § 2-814(a)(2), further requires that these officials and employees disclose

"[elach and every source of income f r o m any business received by such official or

employee i n excess of $5,000 derived f r o m any single source i n the preceding

calendar year."

   15. The Department of Procurement           is responsible for facilitating the

procurement of commodities and services for the City of Atlanta. The mission of

the Department of Procurement "is to model best practices i n public purchasing

while promoting equity, fairness, and economic inclusion."

   16. According to the City of Atlanta's Procurement Code § 2-1482, any City of

Atlanta officer or employee who has a direct or indirect financial interest i n any

procurement matter, other than by a competitive sealed bid, must disclose the

nature of the financial interest to the City of Atlanta's Chief Procurement Officer.

   17. According to the City of Atlanta's Procurement Code § 2-1484, it is unethical

for any person to offer, give or agree to give any employee or former employee or

for any employee or former employee to solicit, demand, accept or agree to accept

f r o m another person a gratuity or an offer of employment i n connection w i t h any

decision, approval, disapproval, recommendation, influencing the content of any

specification or procurement standard, rendering of advice, or other matter

pertaining to any contract or subcontract or to any solicitation or proposal therefor.


                                          5
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 6 of 23




   18. According to the City of Atlanta's Procurement Code § 2-1485, it is unethical

for a person to be retained or to retain a person to solicit or secure a city contract

upon an agreement or understanding for a commission, percentage, brokerage or

contingent fee.

   19. According to the City of Atlanta's Procurement Code § 2-1487, it is unethical

for any employee or former employee w i l l f u l l y to use confidential information for

actual or anticipated personal gain or for the actual or anticipated personal gain of

any other person.

                                 Manner and Means

   20. Beginning i n or about 2010, Mitchell and Richards agreed to pay bribes to

BICKERS, who was a City of Atlanta employee at the time, to secure City of Atlanta

contracts for their businesses. In some instances, Mitchell and Richards referred to

the bribes as "up-front money." However, Mitchell and Richards typically paid

BICKERS after the City of Atlanta had paid them for construction work performed

by their businesses. I n exchange for these payments and the promise of these

payments, BICKERS agreed to represent Mitchell, Richards, and their companies

on matters relating to City of Atlanta contracting - notwithstanding that BICKERS

was prohibited f r o m doing so as a City of Atlanta employee. During this period,

BICKERS also provided sensitive contracting information to Mitchell and Richards

that assisted them i n submitting contract bids.

   21. I n early 2013, BICKERS's financial ties to the Pirouette Companies were

exposed publically. Based on this public disclosure, BICKERS amended her 2013

City of Atlanta Financial Disclosure Statement i n which she revealed her financial




                                            6
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 7 of 23




relationship w i t h the Pirouette Companies. On or about May 22, 2013, BICKERS

resigned her position w i t h the City of Atlanta.

                                      Overt Acts

A. City of Atlanta - Financial Disclosure Statements

   22. Under the City of Atlanta's Ethics Code and as part of her employment,

BICKERS was required to disclose annually all positions of employment she held

in any business for any portion of the year, including a description of the type of

business and the existence and nature of any business done by the employer entity

w i t h the City of Atlanta. D u r k i g her tenure w i t h the City of Atlanta, BICKERS

completed five Financial Disclosure Statements, all of which BICKERS submitted

electronically via the Internet.

                          Financial Disclosure Statement 2011

   23. On or about February 16, 2011, BICKERS completed and electronically

signed a 2011 City Financial Disclosure Statement under penalty of perjury. On the

Financial Disclosure Statement, BICKERS identified her position as "[e]mployee i n

the office of the Mayor who report[ed] directly to the Mayor" and attested that suice

January 1, 2010:

      a. She had been employed by the City of Atlanta and the Bickers Group; and

     b. She had received over $5,000 in annual income f r o m the Bickers Group.

                        Financial Disclosure Statement 2012

   24. On or about February 15, 2012, BICKERS completed and electronically

signed a 2012 City Financial Disclosure Statement under penalty of perjury. On the

Financial    Disclosure     Statement,    BICKERS     identified   her   position    as




                                            7
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 8 of 23




"Commissioner; Department Head; or its equivalent" and attested tiiat since

January 1, 2011:

     a. Slie had not been self-employed or employed by any corporation,

        partnership,     proprietorship,       other   business   entity,   non-profit

        organization, or other governmental entity besides the City of Atlanta;

     b. She had not received more than $5,000 i n annual income f r o m any

        corporation, partnership, proprietorship, non-profit organization, or other

        business entity, including limited partnerships           or limited   liability

        corporations; and

     c. She had not been paid or compensated for appearing on behalf of any

        person, client, or private interest before any city agency.

BICKERS submitted the 2012 City Financial Disclosure Statement, knowing that it

contained false and fraudulent answers and representations.

                       Financial Disclosure Statement 2013

   25. On or about January 28,2013, BICKERS completed and electronically signed

a 2013 Financial Disclosure Statement under penalty of perjury. On the Financial

Disclosure Statement, BICKERS identified her position as              "Commissioner;

Department Head; or its equivalent" and attested that since January 1, 2012:

    a. She had not been self-employed or employed by any corporation,

       partnership, proprietorship, other business entity, non-profit organization,

       or other governmental entity besides the City of Atlanta and Emmanuel

       Baptist Church;

   b. She had not received more than $5,000 i n annual income f r o m any

       corporation, partnership, proprietorship, non-profit organization, or other


                                           8
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 9 of 23




       business entity, including limited       partnerships    or   limited   liability

       corporations; and

   c. She had not been paid or compensated for appearing on behalf of any

       person, client, or private interest before any city agency.

BICKERS submitted the 2013 City Financial Disclosure Statement, knov^ing that it

contained false and fraudulent answers and representations.

               Re-Submitted Financial Disclosure Statement 2013

   26. I n early 2013, it was publicly reported that BICKERS's 2013 City Financial

Disclosure Statement contained false information because BICKERS failed to

accurately disclose her employment w i t h the Pirouette Companies as required.

   27. On or about March 19, 2013, BICKERS re-submitted and electronically

signed another 2013 Financial Disclosure Statement under penalty of perjury. On

the Financial Disclosure Statement, BICKERS identified her position as an

"[e]mployee i n the office of the Mayor who report[ed] directly to the Mayor" and

attested that since January 1,2012:

    a. She had i n fact been self-employed or employed outside the City of Atlanta

        by Pirouette Companies and Emmanuel Baptist Church; and

    b. She had i n fact received more than $5,000 i n annual income f r o m both

        Pirouette Companies and Emmanuel Baptist Church.

                       Financial Disclosure Statement 2014

   28. On or about March 31,2014, BICKERS submitted and electronically signed a

2014 City Financial Disclosure Statement under penalty of perjury. On the Financial

Disclosure Statement, BICKERS identified her position as "other city employee"

and "management analyst" and attested that since January 1, 2013:


                                          9
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 10 of 23




   a. She had been self-employed or employed outside the City of Atlanta by

       Pirouette Companies and Emmanuel Baptist Church;

   b. She had received more than $5,000 i n annual income f r o m both Pirouette

       Companies and Emmanuel Baptist Church; and

   c. She had not been paid or compensated for appearing on behalf of any

       person, client, or private interest before any city agency.

BICKERS submitted the 2014 City Financial Disclosure Statement, knowing that

some of her answers were false and fraudulent.

B. Bribe Payments to Bickers

   29. From approximately 2010 to 2015, Mitchell, Richards and their companies

paid over two million dollar i n bribe payments to BICKERS, the Bickers Group,

Chateau Land Company, and the Pirouette Companies i n an attempt get City of

Atlanta contracts.

                                   2010 Payments

   30. From approximately January to December             2010, Mitchell withdrew

approximately $111,000 i n cash.

   31. From approximately January to December 2010, approximately $94,000 i n

cash was deposited into accounts BICKERS owned or controlled.

                       January and February 2011 Payments

   32. On or about January 26, 2011, the City of Atlanta paid Mitchell through

Cascade Building Systems approximately $1.2 million for contract work.

     a. From approximately January 27 to on or about February 1, 2011, Mitchell

        withdrew approximately $390,000 f r o m accounts he owned or controlled,

        mostly i n cash.


                                          10
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 11 of 23




     b. From approximately January 28 to on or about February 1, 2011,

        approximately $93,000 i n cash was deposited into accounts owned or

        controlled by BICKERS. The cash          deposits were broken up         into

        approximately 15 transactions of $10,000 or less and spread across

        approximately 10 separate bank accounts owned or controlled by

        BICKERS.

     c. From i n or about February 3 to 11, 2011, approximately $200,000 i n cash

        was deposited into a real estate account for the benefit of BICKERS.

        BICKERS subsequently used the $200,000 and other funds to buy a

        lakefront home i n June 2011.

                                June 2011 Payments

   33. I n June 2011, the City of Atlanta paid Mitchell's and Richards's for contract

w o r k performed by their businesses.

     a. From i n or about June 15 to 23, 2011, Mitchell withdrew about $181,000

         f r o m accounts he owned or controlled: (i) by writing two checks to cash

         for $56,000 and $100,000, and (ii) by withdrawing $25,000 i n cash.

     b. O n or about June 20, 2011, four structured cash deposits of $9,500 were

         made into four different bank accounts owned or controlled by BICKERS.

     c. From i n or about June 24 to 27, 2011, seven additional structured cash

         deposits of $9,500 or more were made into four different bank accounts

         owned or controlled by BICKERS.

     d. O n or about June 27, 2011, $85,000 i n cash was deposited into a Bickers

         Group bank account.




                                         11
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 12 of 23




     e. On or about June 27, 2011, an account owned or controlled by BICKERS

        received two wire       transfers totaling $53,000 from C P .    Richards

        Construction.

     f. On or about June 28, 2011, $20,000 i n cash was deposited into an account

        owned or controlled by BICKERS.

   34. After these deposits were made into BICKERS's accounts, BICKERS

immediately wired money f r o m three personal and business accounts to buy her

home. Specifically:

     a. Between on or about June 27 and 28,2011, BICKERS wired approximately

        $81,000, $104,000, and $114,000 f r o m a personal account to a closing

         attorney for the purchase of her home.

     b. On or about June 28, 2011, BICKERS purchased a lakefront home in

        Jonesboro, Georgia for approximately $775,000.

                      January 1 to December 31,2011 Payments

   35. I n 2011, BICKERS deposited or caused to be deposited approximately

$465,000 into accounts she owned or controlled. Furthermore, BICKERS caused to

be deposited an additional $200,000 into a real estate account that she used to

purchase her lakefront residence.

   36. I n her 2011 Tax Return, which she filed under penalty of perjury, BICKERS

represented to the Internal Revenue Service ("IRS") that her total uicome for 2011

was $57,986, even though she had received significant payments directly and

indirectly f r o m Mitchell and Richards i n that year.     Based on the false

representations i n her return, the IRS issued BICKERS a tax refund of $3,924. I n




                                        12
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 13 of 23




fact, Bickers made approximately $650,000 i n income i n 2011 and failed to pay the

required amount of federal income tax.

                                    2013 Payments

   37. O n or about January 29, 2013, C P . Richards Construction paid $20,000 to

Mitchell through Cascade Building Systems.

   38. O n or about January 29,2013, Mitchell wrote a $16,000 check to E.R. Mitchell

Construction.

   39. O n or about January 29, 2013, Mitchell wrote a $16,000 check f r o m E.R.

Mitchell Construction to "cash," intending that some or all of the money w o u l d be

used to pay City of Atlanta officials i n exchange for contract work.

   40. O n or about A p r i l 15, 2013, C P . Richards Construction Co. paid $11,000 to

Cascade Building Systems.

   41. O n or about A p r i l 16, 2013, Mitchell wrote a $9,500 check to E.R. Mitchell

Construction.

   42. O n or about A p r i l 16, 2013, Mitchell wrote a $9,500 check f r o m E.R. Mitchell

Construction to "cash," intending that some or all of the money w o u l d be used to

pay City of Atlanta officials in exchange for contract work.

                                    2014 Payments

   43. I n or about January 2014, the City of Atlanta paid C P . Richards Construction

approximately $162,000 for w o r k the company performed. O n or about January 15,

2014, C P . Richards Construction wrote a check to Pirouette Companies for $15,000.

   44. O n or about February 13, 2014, the City of Atlanta paid Cascade Building

Systems approximately $322,104 for services provided by the company duruig a

snowstorm i n Atlanta i n or about January and February 2014.


                                            13
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 14 of 23




   45. O n or about February 14 and 18, 2014, Mitchell made two $9,500

withdrawals on both days.

   46. O n or about May 19, 2014, he withdrew and additional $150,000 f r o m an

account he owned or controlled.

                             February to April 2014

   47. From approximately February 28 to March 5, 2014, the City of Atlanta made

a series of payments to Mitchell's company. Cascade Building Systems, totaling

$3,279,567 for services related to the 2014 snowstorm and debris removal.

    a. On or about March 7,2014, Mitchell wrote a $50,000 check f r o m the Cascade

       Building Systems account to BICKERS that was deposited into BICKERS's

       personal account on the same day.

    b. O n or about March 7,2014, Mitchell also wrote $150,000 and $50,000 checks

       f r o m his Cascade Building Systems bank account. Also, on or about March

       7, 2014, $50,000 was deposited into BICKERS's personal account and

       $150,000 was deposited into an account owned or controlled by Pirouette

       Companies.

    c. On or about March 12, 2014, Mitchell wrote a $44,000 check to BICKERS

       that was deposited i n her personal account.

    d. On or about March 12, 2014, Mitchell withdrew $100,000 i n cash. Also, on

       or about March 12, 2014, $100,000 i n cash was deposited into an account

       owned or controlled by Pirouette Companies.

    e. O n or about March 26, 2014, Mitchell wrote a $100,000 check to the Bickers

       Group and a $50,000 check to Pirouette Companies that were both




                                       14
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 15 of 23




        deposited on the same day into bank accounts owned and controlled by the

        Bickers Group and Pirouette Companies.

    f. O n or about A p r i l 1, 2014, Mitchell withdrew $100,000 i n cash f r o m a bank

        account he owned or controlled, and on the same day, $100,000 was

        deposited into an account owned or controlled by Pirouette Companies.

     g. O n or about A p r i l 1, 2014, Mitchell also wrote a $110,000 check to the

        Bickers Group that was immediately deposited into its business account.

    h. O n or about A p r i l 1, 2014, Mitchell also wrote a $30,000 check to BICKERS

        that was immediately deposited into her personal account.

   48. Between approximately March and June 2014, BICKERS accumulated

personal charges f r o m Gucci, Delta A i r Lines, the Ritz-Carlton Aruba, Carnival

Cruise Line, Disney Resorts, and various home contracting businesses.              These

purchases were funded, at least i n part, w i t h the proceeds of the bribery scheme.

   49. BICKERS also caused the Bickers Group (her political consulting firm) to

make the following purchases:

     a. O n or about May 24, 2014, the Bickers Group purchased two Yamaha

         WaveRunners for approximately $21,091.88;

     b. O n or about July 3, 2014, the Bickers Group purchased two additional

         Yamaha WaveRunners for approximately $24,726.10; and

     c. I n or about November 2014, the Bickers Group purchased an all-terrain

         vehicle and a trailer for approximately $6,638 and $1,325.

   A l l i n violation of Title 18, United States Code, Section 371.




                                           15
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 16 of 23




                                          Count 2

                    (Conspiracy to Commit Bribery - 18 U.S.C. § 371)

   50. The Grand Jury re-alleges and incorporates by reference the factual

allegations f r o m Paragraphs 2 through 49, as if f u l l y set forth herein.

                                Object of the Conspiracy

   51. After leaving employment w i t h the City of Atlanta i n or about May 22,2013,

BICKERS conspired to enrich herself and others by soliciting and accepting

payments directly and indirectly f r o m Mitchell, Richards, and their companies i n

exchange for BICKERS's agreement to represent their businesses and to obtain

lucrative City of Atlanta contracts for their companies through the bribery of public

officials.

   52. From i n or about May 23, 2013, to at least until i n or about 2015, the exact

dates being unknown, i n the Northern District of Georgia and                    elsewhere,

defendant M l T Z l BICKERS knowingly and w i l l f u l l y conspired, agreed, and had a

tacit understanding w i t h Elvin R. Mitchell, Jr., Charles P. Richards, Jr., and others

k n o w n and unknown to commit violations of the laws of the United States, that is

- bribery involving a local government receiving federal funds, i n that BICKERS

corruptly gave, offered, and agreed to give a thing of value to a person w i t h the

intent to influence and reward an agent of the City of Atlanta government (a local

government), i n connection w i t h any business, transaction, and series of

transactions of the City of Atlanta government, involving a thing of value of at least

$5,000, i n any one-year period where the City of Atlanta government received

benefits i n excess of $10,000 under a federal program involving, a grant, contract.


                                             16
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 17 of 23




subsidy, loan, guarantee, insurance and other form, i n violation of Title 18, United

States Code, Section 666(a)(2), all i n violation of Title 18, United States Code, Section

371.

                                       Counts 3 to 5

                         (Money Laundering - 18 U.S.C. § 1957)

   53. The Grand Jury re-alleges and incorporates by reference the factual

allegations f r o m Paragraphs 2 through 49, as if f u l l y set forth herein.

   54. Between January 1 and December 31, 2014, Mitchell, Richards, and their

businesses paid BICKERS, the Bickers Group, Pirouette Companies, and other

companies owned or associated w i t h BICKERS almost $2 million i n proceeds

relating to the bribery scheme set forth i n Count 2 of this Indictment.

   55. Between i n or about A p r i l 30 and May 9, 2014, Mitchell caused Cascade

Building Systems to pay the Bickers Group approximately $85,700.

   56. O n or about May 9, 2014, BICKERS purchased a 2014 GMC Acadia Denali

by w r i t i n g a check for approximately $46,582.40 drawn f r o m the Bickers Group's

bank account.

   57. O n or about May 23, 2014, Mitchell caused Cascade Building Systems to pay

the Bickers Group approximately $21,000.

   58. O n or about May 23,2014, BICKERS purchased a 2014 Yamaha WaveRunner

(model VX1800A-NB) and a 2013 Yamaha WaveRunner (model SJ700) by w r i t i n g a

check for approximately $21,091.88 drawn f r o m the Bickers Group's bank account.

   59. Between on or about June 30 and July 3, 2014, Mitchell caused Cascade

Building Systems to pay the Bickers Group approximately $22,000.




                                             17
         Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 18 of 23




   60. On or about July 3, 2014, BICKERS purchased a 2013 Yamaha WaveRunner

(model GX1800A) and a 2014 Yamaha WaveRunner (FA 1800-N) for approximately

$24,726.10 w i t h a Bickers Group debit or credit card.

   61. O n or about the dates listed below, i n the Northern District of Georgia and

elsewhere, the defendant M I T Z I BICKERS, aided and abetted by Elvin R. Mitchell,

Jr. and others known and unknown, knowingly engaged and attempted to engage

i n the following monetary transactions by, through, or to a financial institution,

affecting interstate commerce, each such             transaction knowingly       involving

criminally-derived property of a value greater than $10,000, such property having

been derived f r o m a specified u n l a w f u l activity, that is - the bribery scheme

described i n Count 2 of this Indictment, u i violation of Title 18, United States Code,

Section 666(a)(2), each transaction constituting a separate count as set forth below:



  COUNT            DATE                        MONETARY TRANSACTION
                                   Purchase of a 2014 GMC Acadia Denali w i t h a
     3         May 9, 2014
                                 check drawn f r o m the Bickers Group bank account
                                           at Capitol City Bank for $46,582.40.
                                 Purchase of two WaveRunners w i t h a check drawn
     4         May 23, 2014
                                  f r o m the Bickers Group bank account at Capitol
                                                City bank for $21,091.88.
                                 Purchase of two WaveRunners w i t h a check drawn
     5          July 3, 2014
                                  f r o m the Bickers Group bank account at Capitol
                                                   City for $24,726.10.

   A l l i n violation of Title 18, United States Code, Sections 1957 and 2.

                                       Counts 6 to 9

                       {Wire Fraud - 18 U.S.C. §§ 1343 and 1349)

   62. The Grand Jury re-alleges and incorporates by reference the factual

allegations f r o m Paragraphs 2 through 49, as if f u l l y set forth herein.

                                             18
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 19 of 23




   63. From approximately February 2010 to May 22,2013, BICKERS served as the

Director of H u m a n Services for the City of Atlanta earning approximately $50,391

i n 2010, $57,986 i n 2011, $42,849 i n 2012, and $28,046 i n 2013, according to her tax

returns.

   64. The City of Atlanta's Code of Ethics § 2-814(a)(l), required BICKERS to

disclose "[ejach and every source of income f r o m any business received by such

official or employee i n excess of $5,000 derived f r o m any single source i n the

preceding calendar year."

   65. BICKERS filed multiple false City of Atlanta Financial Disclosure Forms

under penalty of perjury via the Internet. From February 2010 to May 22, 2013,

BICKERS received payments of more than $5,000 f r o m sources other than the City

of Atlanta that she failed to disclose and i n violation of City of Atlanta code. Duruig

this period, BICKERS continued to receive her City of Atlanta salary.

   66. Between i n or about January 2010 and May 2013, i n the Northern District of

Georgia and elsewhere, defendant M I T Z I BICKERS, knowingly devised and

participated i n and attempted to devised and participate i n a scheme to defraud

and to obtain money and property f r o m the City of Atlanta by means of a materially

false and fraudulent pretense, representation, and promise, and by an omission of

material fact, and i n executing the scheme caused, on or about the dates listed

below,     the   transmission   i n interstate   commerce,   by   means    of   a   wire

communication, certain signs, signals, and sounds, that is - the electronic

communications associated w i t h the salary payments listed below:




                                           19
        Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 20 of 23




 COUNT              DATE                     RECIPIENT                  DESCRIPTION
                                       BICKERS's Bank of               City of Atlanta
    6        February 22, 2013       America account ending        Salary Payment i n the
                                            i n 5954                 amount of $600.00
                                       BICKERS's Credit                City of Atlanta
    7        February 22, 2013          Union of Atlanta           Salary Payment i n the
                                     account ending i n 9145         amount of $829.64
    8                                  BICKERS's Bank of               City of Atlanta
               March 8, 2013         America account ending        Salary Payment i n the
                                            i n 5954                 amount of $600.00
    9                                  BICKERS's Credit               City of Atlanta
               March 8, 2013            Union of Atlanta           Salary Payment i n the
                                     account ending i n 9145         amount of $809.28

   A l l i n violation of Title 18, United States Code, Sections 1343 and 1349.

                                         Count 10

            (Tampering with a Witness or Informant - 18 U.S.C. § 1512(b)(3))

   67. The Grand Jury re-alleges and incorporates by reference the factual

allegations f r o m Paragraphs 2 through 49, as if f u l l y set forth herein.

   68. From i n or about May 2015 to on or about September 11, 2015, i n the

Northern District of Georgia, defendant M I T Z I BICKERS, aided and abetted by

others, knowingly used and attempted to use intimidation, threats, and corrupt

persuasion; and engaged i n misleading conduct towards Elvin R. Mitchell, Jr., w i t h

the intent to hinder, delay, and prevent the communication to a United States law

enforcement officer of information relating to the commission and possible

commission of a federal offense; i n violation of Title 18, United States Code,

Sections 1512(b)(3) and 2.




                                             20
       Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 21 of 23




                                         Count 11

                      (Filing False Tax Returns - 26 U.S.C. § 7206)

   69. The Grand Jury re-alleges and incorporates by reference the factual

allegations f r o m Paragraphs 2 through 49, as if f u l l y set forth herein.

   70. O n or about A p r i l 20, 2012, i n the Northern District of Georgia, defendant

M I T Z I BICKERS, knowingly and w i l l f u l l y made and subscribed a 2011 United

States Individual Income Tax Return (Form 1040) that was verified by a written

declaration made under penalty of perjury, and filed w i t h the Internal Revenue

Service Center and which BICKERS d i d not believe to be true and correct as to

every material matter, namely BICKERS stated that her total income for 2011 was

$57,986 (on line 22), when she then and there knew that was not an accurate

statement of her total income; i n violation of Title 26, United States Code, Section

7206(1).

                                   Forfeiture Provision

   71. U p o n conviction of one or more of the offenses alleged i n Counts 1,2, 6, 7, 8,

and 9 of this Indictment, defendant M I T Z I BICKERS, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Titie 28,

United States Code, Section 2461(c), any and all property constituting, or derived

from, proceeds obtained directly or indirectly as a result of said violations,

including but not limited to:

       a. Real Property located at 3306 Bay View Drive, Jonesboro, Georgia;

       b. 2014 GMC Acadia Denali, bearing V I N 1GKKRTKD8EJ138259;

       c. 2014 Yamaha WaveRunner, model VX1800A-NB, US-YAMA3116J314;

       d. 2013 Yamaha WaveRunner, model SJ700, JP-YAMH0089E313;


                                             21
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 22 of 23




      e. 2013 Yamaha WaveRuraier, model GX1800A, US-YAMA3940D313;

      f. 2014 Yamaha WaveRunner, model FA 1800-N, US-YAMA1141L314;

      g. 1964 Cadillac DeVille, bearing V I N 64F14244B; and

      h. Money Judgment: a sum of money i n United States currency representing

          the amount of proceeds obtained as a result of the offenses.

   72. Upon conviction of one or more of the offenses alleged i n Counts 3,4, and 5

of this Indictinent, defendant M I T Z I BICKERS, shall forfeit to the United States,

pursuant to Title 18, United States Code, Sections 982(a)(1) and 981(a)(1)(A), and

Title 28, United States Code, Section 2461(c), any and all property, real or personal,

involved i n or traceable to said violation, including but not limited to:

      a. 2014 GMC Acadia Denali, 1GKKRTKD8EJ138259;

      b. 2014 Yamaha WaveRunner, model VX1800A-NB, US-YAMA3116J314;

      c. 2013 Yamaha WaveRunner, model SJ700, JP-YAMH0089E313;

      d. 2013 Yamaha WaveRunner, model GX1800A, US-YAMA3940D313;

      e. 2014 Yamaha WaveRunner, model FA 1800-N, US-YAMA1141L314; and

      f. Money Judgment: a sum of money i n United States currency representing

          the amount of proceeds obtained as a result of the offenses.

   73. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

      a. Cannot be located upon the exercise of due diligence;

      b. Has been tiansferred or sold to, or deposited w i t h , a third party;

      c. Has been placed beyond the jurisdiction of the court;

      d. Has been substantially diminished i n value; or




                                          22
      Case 1:18-cr-00098-SCJ-LTW Document 1 Filed 03/27/18 Page 23 of 23




      e. Has been commingled w i t h other property which cannot be divided

          without difficulty;

It is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 18, United States Code, Section 982(b), to seek

forfeiture of any other property of said defendants up to the value of the forfeitable

property described above; all pursuant to Title 18, United States Code, Sections

981(a)(1)(C) and 982(a)(2)(B), and Title 28, United States Code, Section 2461(c).



                                           A



                                                       FOREPERSON




B Y U N G J. P A K
  United States Attorney




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                                           23
